Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 1 of 52

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
IN RE: §
§
VON DIRECTIONAL SERVICES, § CASE NO. 18-33794-H2-11
LLC, § (Chapter 11)
§
Debtor. §

GLOBAL NOTES, METHODOLOGY, AND DISCLAIMERS REGARDING
DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES AND

STATEMENTS OF FINANCIAL AFFAIRS

Von Directional Services, LLC (the “Debtor” or “VDS”) with the assistance of its
consultants, have filed their respective Schedules of Assets and Liabilities (the “Schedules”’)
and Statements of Financial Affairs (the “Statements,” and together with the Schedules, the
“Schedules and Statements”) with the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Court”), pursuant to section 521 of title 11 of the United States
Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of the Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements.

While the Debtor has made a reasonable effort to ensure that the Schedules and
Statements are accurate and complete based on information which was available at the time of
preparation, the subsequent receipt or discovery of information and/or further review and
analysis of the Debtor’s books and records may result in material changes to financial data and
other information contained in these Schedules and Statements, and inadvertent errors or
omissions may exist.

The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”).
Additionally, the Schedules and Statements contain unaudited information that is subject to further
review and potential adjustment, and reflect the Debtor’s reasonable efforts to report the assets and
liabilities of the Debtor.

Nothing contained in the Schedules and Statements shall constitute a waiver of rights
or judicial admission with respect to the Debtor’s chapter 11 case including, but not limited to,
any issues involving pending litigation by or against the Debtor, or any employees, officers,

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 2 of 52

directors, agents, affiliates or insiders of the Debtor, objections to claims, equitable
subordination, defenses, characterization or recharacterization of contracts, and/or causes of
action arising under the provisions of chapter 5 of the Bankruptcy Code or any other relevant
applicable laws to recover assets or avoid transfers.

The Debtor and its officers, employees, agents, attorneys, and consultants do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in
the Schedules and Statements. Except as expressly required by the Bankruptcy Code, the
Debtor and its officers, employees, agents, attorneys, and consultants expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
in the Schedules and Statements or to notify any third party should the information be updated,
modified, revised, or re-categorized. The Debtor, on behalf of itself, their officers, employees,
agents and advisors disclaim any liability to any third party arising out of or related to the
information contained in the Schedules and Statements and reserve all rights with respect
thereto.

In reviewing and signing the Schedules and Statements, the Debtor’s representative relied
upon the efforts, statements and representations of the Debtor’s other personnel and professionals.
The representative has not (and could not have) personally verify the accuracy of each such
statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses.

The Global Notes are in addition to any specific notes contained in the Schedules or
Statements. The Schedules and Statements and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of the Debtor.

A. Description of the Case and "As Of” Information Date(s). On July 9, 2018,
(the "Petition Date"), the Debtor filed its voluntary petition with the Bankruptcy Court under
chapter 11 of the Bankruptcy Code, under case number 18-33794.

B. Undetermined or Unliquidated Amounts. Claim amounts that could not be
readily quantified by the Debtor are scheduled as "unliquidated." The description of an amount
as "unknown," or "undetermined" is not intended to reflect upon the materiality of such amount.
Any failure to designate a claim in the Schedules and Statements as "contingent,"
"unliquidated," or "disputed" does not constitute an admission by the Debtor that such claim or
amount is not "contingent," "unliquidated," or "disputed." The Debtor reserves all of its rights
to dispute, or to assert offsets or defenses to, any claim reflected on the Schedules and
Statements on any grounds, including, but not limited to, amount, liability, priority, status, or
classification, or to otherwise subsequently designate any claim as "contingent,"
"unliquidated," or "disputed."

{851320/001 10/01250435.DOCX 1 } 2
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 3 of 52

C.  Recharacterization. The Debtor has made reasonable efforts to correctly
characterize, classify, categorize, and designate the claims, assets, executory contracts,
unexpired leases, and other items reported in the Schedules and Statements. The Debtor’s
characterization shall not waive any right for the Debtor to recharacterize, reclassify,
recategorize, or re- designate items reported in the Schedules and Statements at a later time as
necessary or appropriate as additional information becomes available.

D. Categories or Labels for Purpose of Presentation in Schedules and
Statements. Information requested by the Schedules and Statements requires the Debtor to
make a judgment regarding the appropriate category in which information should be presented
or how certain parties, claims or other data should be labeled. The Debtor’s decisions regarding
the category or label to use is based on the best information available as of the filing of these
Schedules and Statements and within the time constraints imposed. The Debtor reserves the
right to modify, change or delete any information in the Schedules and Statements by
amendment, including to the extent some information currently presented should be moved to a
different category or labeled in a different way.

E. Causes of Action. Except as otherwise set forth in these Global Notes and the
Schedules, the Debtor has not set forth certain causes of action against third parties, including,
but not limited to, avoidance actions arising under chapter 5 of the Bankruptcy Code and
actions under other relevant non-bankruptcy laws to recover assets. Neither these Global Notes
nor the Schedules and Statements shall be deemed a waiver of any such causes of action.

F, Reservation of Rights. Reasonable efforts have been made to prepare and file
complete and accurate Schedules and Statements; however, inadvertent errors or omissions may
exist. The Debtor reserves all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including, without limitation, the
right to amend the Schedules and Statements with respect to any claim (“Claim”) description;
dispute or otherwise assert offsets or defenses to any Claim reflected in the Schedules and
Statements as to amount, liability, priority, status, or classification; subsequently designate any
Claim as “disputed,” “contingent,” or “unliquidated;” or object to the extent, validity,
enforceability, priority, or avoidability of any Claim. Any failure to designate a Claim in the
Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the Debtor that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor.
Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of rights
with respect to the Debtor’s chapter 11 case, including, without limitation, issues involving Claims,
substantive consolidation, defenses, equitable subordination, recharacterization, and/or causes of
action arising under the provisions of chapter 5 of the Bankruptcy Code, and any other relevant
non- bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
contained elsewhere in the Global Notes does not limit in any respect the general.

{851320/001 10/01250435.DOCX 1} 3
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 4 of 52

G. Insiders. Solely, for purposes of the Schedules and Statements, the Debtor defines
“insiders” and “affiliates” to include entities which may dispute whether they are insiders and/or
affiliates. Entities listed as “insiders” have been included for informational purposes and their
inclusion shall not constitute an admission that those entities are insiders for purposes of section
101(31) of the Bankruptcy Code.

1. Statements of Assets and Liabilities.
(a) Schedule B -Personal Property.

Certain personal property of the Debtor could arguably be listed in response to more than
one Schedule B question. In such cases, the Debtor has endeavored to list such property once in
the most appropriate category.

(b) Schedule D - Creditors Holding Secured Claims.

The Debtor has listed M&M liens that have been filed or noticed to be filed against its
customers for labor and materials provided by vendors of Debtor. The listing of a claim in
Schedule D does not constitute an admission by the Debtor that such claim is entitled to
secured treatment under the Bankruptcy Code and does not constitute a waiver of any right to
recharacterize or reclassify such claim. The Debtor reserves the right to dispute the nature,
validity and amount of each of these claims and listing of the same in Schedule D shall not be
deemed a waiver of any objections of causes of action.

(c) Schedule E - Creditors Holding Unsecured Priority Claims.

The listing of a claim on Schedule E does not constitute an admission by the Debtor that
such claim is entitled to priority treatment under section 507 of the Bankruptcy Code and does
not constitute a waiver of any right to recharacterize or reclassify such claim. All claim
amounts listed on Schedule E are based upon information as of July 9, 2018.

(a) Schedule F - Creditors Holding Unsecured Nonpriority Claims.

The claims listed on Schedule F arose or were incurred on various dates. In certain
instances, the date on which a claim arose is an open issue of fact. While best efforts have been
made, the determination of each date upon which each claim on Schedule F was incurred or
arose would be unduly burdensome and cost prohibitive and, therefore, the Debtor does not list
a date for each claim listed on Schedule F.

Schedule F permits the Debtor to designate a claim as disputed, contingent and/or
unliquidated. A failure to designate a claim on Schedule F as disputed, contingent and/or
unliquidated does not constitute an admission that such claim is not subject to objection. The
Debtor reserves the right to dispute, or assert offsets or defenses to, any claim reflected on

{851320/00110/01250435.DOCX 1 } 4
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 5 of 52

Schedule F as to amount, liability or status.
(e) Schedule G - Executory Contract and Unexpired Leases.

While every effort has been made to ensure the accuracy of the Schedule of Executory
Contracts and Unexpired Leases, inadvertent errors or omissions may have occurred. The
contracts, agreements and leases listed on Schedule G may have expired or may have been
modified, amended, or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters and other documents, instruments and agreements which
may not be listed therein. Certain of the executory agreements may not have been
memorialized and could be subject to dispute. The presence of a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an executory
contract or unexpired lease. In some instances, contracts were in the name of over entities
although the Debtor used the services and paid for such services exclusively. There is a dispute
as to whether the Debtor has any rights under such contracts or is obligated under such
contracts.

Schedule H - Codebtors.

In the event of any co-obligors with respect to a scheduled debt or guaranty of
any Debtor, such co-obligator is listed on Schedule H of such Debtor, with a cross-reference to
any other relevant Schedule of such Debtor listing such debt or guaranty.

2. Statement of Financial Affairs.

Various Statements. Certain questions in the Statements request the Debtor to provide
information for a certain time period prior to the Petition Date. Unless otherwise noted herein
or elsewhere in the Statements, information provided by the Debtor is through July 9, 2018.

(a) Statement 3 - Payments to Creditors. The Debtor has been able to
compile information relating to payments in the 90-day and one-year period prior to the Petition
Date. The failure to list any such payments does not constitute an admission that no such
payments exist but are simply unavailable at this time.

(b) Statement 4, 13, 30 — Payments/Transfers/Distributions. The Debtor
has been able to compile information relating to payments within one year (Statements 4 and 30)
and two year period (Statement 13) prior to the Petition Date. The failure to list any such
payments does not constitute an admission that no such payments exist but are simply
unavailable at this time. Debtor attempted to be overinclusive and included, out of an
abundance of caution, entities which Jim Elzner does not have any direct ownership interest.

{851320/001 10/01250435.DOCX 1 } 5
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 6 of 52

(c) Statement 7 — Legal Actions or Assignments. The Debtor has listed all known
lawsuits that have been filed. Debtor reserves the right to supplement should any other litigation be
pending but has not been learned through Debtor’s efforts to research any existing litigation.

THE DEBTOR RESERVES THE RIGHT TO AMEND THE SCHEDULES AND
STATEMENT OF FINANCIAL AFFAIRS. THE DEBTOR DOES NOT WAIVE ANY
ISSUE OF FACT, REMEDY, CLAIM, OR DEFENSE PERTAINING TO ANY MATTER
ADDRESSED HEREIN.

{851320/001 10/01250435.DOCX I } 6
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 7 of 52

Fill in this information to identify the case:

Debtorname Von Directional Services, LLC

 

United States Bankruptcy Court for the. SOUTHERN DISTRICT OF TEXAS

 

Case number (ifknown) 18-33794-H2-11

 

(1 Check if this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

GEIS Summary of Assets

 

 

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:
Copy line 88 from Schedule A/B.o...ccesceccccccseeeeeceeee uesssusseessassccssssesecuneseennecersneeeeees pessscesusesesesusesseensnneescennnetes Ss 0.00 —

1b. Total personal property:
Copy line 91A from Schedule A/B.a.ccccccsccsssssssssessssssesssssssseeessenesssseseessuanseseeeseiuisnessseetisennunnseseeesnunnseseeseee $ 13,688,024.87
1c. Total of all property:

Copy line 92 from Schedule A/B....c.cscssccssscssssscssssesscsssnneeseeesnessssssnmsscesansecsrssnssecnsnseseeeessncencannnateeneanateseesnanasees $ 13,688,024.87

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..........-sscssererreeees $ 5,694,715.37

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/P.........eceeceecee eee tenerenceteneneneneneeanannenteeanantes $ 539,059.11

3b. Total amount of claims of nonpriority amount of unsecured claims: + 45,249,361.65

 

4. - Total liabilities 0.0.0... cece ccc ceccessessnsceeerersaceecesseneeeeesceeceecessnneeeecesenseessseseaeceeeessnaeseesereneuseeesecanarosrcseusatsege es

Lines 2 + 3a + 3b $ 21,483,136.13

 

 

 

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 8 of 52

Fill in this information to identify the case:

Debtorname Von Directional Services, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number (ifknown) 18-33794-H2-11

 

(+ Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12145

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. in Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attachéd, include the amounts from the attachment in the total for the pertinent part. ,

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

4. Does the debtor have any cash or cash equivalents?

[C1 No. Go to Part 2.

Mf Ves Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (Identify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1, Prosperity Bank Checking 6989 $1,144,575.13
4, Other cash equivalents (/dentify all)
5. Total of Part 1. $1,144,575.13

 

 

 

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

C1 No. Go to Part 3.
Ml Yes Fill in the information below.
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit

Security deposit held by Landlord, P&S Properties, LLC for leased premises located at
7.1. 12074 FM 3083, Conroe, TX 77301. $9,000.00

 

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment

 

9. Total of Part 2. $9,000.00
Add lines 7 through’ 8. Copy the total to line 81. . . :

 

 

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 9 of 52

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11

Name

Accounts receivable
10. Does the debtor have any accounts receivable?

CO No. Go to Part 4.
Wl Yes Fill in the information below.

 

 

 

 

 

11. Accounts receivable
41a. 90 days old or less: 3,929,421.66 - 0.00 =... $3,929,421.66
face amount doubtful or uncollectible accounts
11b. Over 90 days old: 469,975.48 - 303,248.25 =... $166,727.23
face amount doubtful or uncollectible accounts

 

 

12. Total of Part 3.
Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 

$4,096,148.89

 

 

Investments
13. Does the debtor own any investments?

ME No. Go to Part 5.
C1 Yes Fill in the information below.

Part 5: Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

HI No. Go to Part 6.
CO Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

HI No. Goto Part 7.
O Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

[1 No. Go to Part 8.
Ml Yes Fill in the information below.
General description Net book value of Valuation method used

debtor's interest for current value
(Where available)

39. Office furniture
40. Office fixtures

41. Office equipment, including all computer equipment and
communication systems equipment and software
Office Equipment - See Asset Depreciation
Schedule attached as Exhibit B-41 $5,406.58

Current value of
debtor's interest

$5,406.58

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property

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page 2

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 10 of 52

 

 

 

 

 

 

 

 

 

 

   

 
 

 

 

 

 

 

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45.

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 11 of 52

Von Directional Services, LLC Case number (if known) 18-33794-H2-11

 

Name

Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles

 

Total of Part 7.
Add lines 39 through 42. Copy the total to line 86.

 

$5,406.58

 

 

Is a depreciation schedule available for any of the property listed in Part 7?

CI No
Mi Yes

Has any of the property listed in Part 7 been appraised by a professional within the last year?
Mi No ,
Cl Yes

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

CO No. Go to Part 9.
Ml Yes Fill in the information below.

47.

General description Net book value of Valuation method used
Include year, make, model, and identification numbers debtor's interest for current value
(L.e., VIN, HIN, or N-number) (Where available)

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2017 Chevy $47,946.04

Current value of
debtor's interest

$47,946.04

 

47.2. 2018 Chevy $59,637.36

$59,637.36

 

48.

49.

50.

Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessels

Aircraft and accessories

Other machinery, fixtures, and equipment (excluding farm

machinery and equipment)

Sheet metal racks

Shop Porta Cool

Shop Racks

Welding Machine $3,899.19

$3,899.19

 

Machinery & Equipment located in Odessa,
Texas:

Pipe Rack

15,000 Pipe Screens

Pipe screen roll pins

50 NY LTD (pressure level and temp sensing
tool) $7,411.68

$7,411.68

 

51.

52.

 

Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

 

$118,894.27

 

 

is a depreciation schedule available for any of the. property listed in Part 8?

[No

Official Form 206A/B Schedule A/B Assets - Real and Personal Property

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page 3

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 12 of 52

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11

53.

Name

Byes

Has any of the property listed in Part 8 been appraised by a professional within the last year?
MNo
Cl Yes

Real property

54.

 

Does the debtor own or lease any real property?

HE No. Go to Part 10.
CI Yes Fill in the information below.

Part 10: Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

ME No. Go to Part 11.
LC Yes Fill in the information below.

arta All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?

71.

72.

 

Include all interests in executory contracts and unexpired leases not previously reported on this form.

[CI No. Go to Part 12.
lM Yes Fill in the information below.

Notes receivable :
Description (include name of obligor)

Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

Net Operating Loss carryforward 2017 (estimate) Tax year 8,300,000

 

Current value of
debtor's interest

$8,300,000.00

 

_ 03.

Interests in insurance policies or annuities
Frost Insurance:

General Liability Policy No. xxxxx7181
Automobile Liability Policy No. xxxx8519
Umbrella Policy No. xxxx9181

Workers Comp Policy No. xxxx8320

$0.00

 

74.

Causes of action against third parties (whether or not a lawsuit
has been filed)

Debtor reserves and will continue to investigate
potential avoidance or recovery of all pre-petition
transfers under applicable law.

Nature of claim

Amount requested $0.00

 

Unknown

 

75.

Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

Official Form 206A/B Schedule A/B Assets - Real and Personal Property

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page 4

Best Case Bankruptcy
Debtor

Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 13 of 52

Von Directional Services, LLC
Name

 

Von Directional Services LLC v. Kinder Morgan CO2
Company LP, Case No. 2018-CV-30036; District Court,
Montezuma County, Colorado

 

Nature of claim M&M Lien
Amount requested

 

$0.00

Case number (if known) 18-33794-H2-11

 

Unknown

 

76.

77.

Trusts, equitable or future interests in property

Other property of any kind not already listed Examples: Season tickets,
country club membership

Accutest intercompany receivable

 

$14,000.00

 

78.

79.

Official Form 206A/B

Total of Part 11. .
Add lines 71 through 77. Copy the total to line 90.

 

$8,314,000.00

 

 

 

Has any of the property listed in Part 11 been appraised by a professional within the last year?

MNo
O Yes

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Schedule A/B Assets - Real and Personal Property

page 5

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 14 of 52

Debtor Von Directional Services, LLC

Name

ara Summary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Case number (if known) 18-33794-H2-11

 

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.00... ccccccsscstecsesseeeeteeeeeteees

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Current value of
personal property

$1,144,575.13
$9,000.00
$4,096,148.89
$0.00

$0.00

$0.00

$5,406.58

$118,894.27

$0.00

+ $8,314,000.00

Current value of real
property

 

 

$0.00

 

 

 

 

 

Total. Add lines 80 through 90 for each column

$13,688,024.87

 

+91b.

 

$0.00

 

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$13,688,024.87

 

 

page 6

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 15 of 52

Fill in this information to identify the case:

Debtor name
United States Bankruptcy Court for the:

Case number (if known)

Von Directional Services, LLC

SOUTHERN DISTRICT OF TEXAS

 

18-33794-H2-11

 

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

14. Do any creditors have claims secured by debtor's property?
No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one secured ©
claim, list the creditor separately for each claim. . .

Hf Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims

 

 

 

 

 

Column A
Amount of claim

(1 Check if this is an
amended filing

12/15

Column B
Value of collateral’

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

that supports this
Do not deduct the value claim
of collateral.
24 Cobra Downhole Motors,
. Inc. Describe debtor's property that is subject to a lien $56,203.89 $0.00
Creditors Name Lien is filed against the well owner/operator
. Unsecured amount is estimated at $45,230.79
6816 Bourgeois Rd $45,
Houston, TX 77066
Creditor’s mailing address Describe the lien
M&M Lien - Sioux 36 State Well #5H, Lea
County, NM
Is the creditor an insider or related party?
Mino
Creditors email address, if known Cl ves
Is anyone else liable on this claim?
Date debt was incurred ME No
C1 yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Mino C] Contingent
OO Yes. Specify each creditor, D0 unliquidated
including this creditor and its relative © Disputed
priority.
2.2 | CT Corporation System, Describe debtor's property that is subject to a lien Unknown Unknown
Creditor's Name
as Representative
330 N Brand Blvd Suite 700
Attn SPRS
Glendale, CA 91203
Creditor’s mailing address Describe the lien
Is the creditor an insider or related party?
BH no
Creditor’s email address, if known Dyes
Is anyone else liable on this claim?
Date debt was incurred HE No
0 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 7
Best Case Bankruptcy

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Debtor

Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 16 of 52

Name

Von Directional Services, LLC

 

Do multiple creditors have an
interest in the same property?

Hino
0 ves. Specify each creditor,

including this creditor and its relative
priority.

 

Case number (if know)

18-33794-H2-11

 

As of the petition filing date, the claim is:
Check all that apply

a Contingent
Mi Untiquidated
am Disputed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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2.3 | Gyrodata, Inc. Describe debtor's property that is subject to a lien $243,528.81 $0.00
Creditor's Name Lien is filed against the well owner/operator
PO Box 650823 Disputed as to Invoices #171299, 171311,
Dept 41240 171300
Dallas, TX 75265
Creditor's mailing address Describe the lien
M&M Liens
Is the creditor an insider or related party?
Mino
Creditor's email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred Mino
O Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Hino Oi contingent
(1 Yes. Specify each creditor, D1 untiquidated
including this creditor and its relative @ pisputed
priority.
2.4 | IAE International, Inc. Describe debtor's property that is subject to a lien $372,540.81 $0.00
Creditor's Name Lien is filed against the well owner/operator
dba Sniper Drilling Motors Disputed as to invoices #171312, 171313, and
13300 Stonefield Dr 171314
Houston, TX 77014
Creditor’s mailing address Describe the lien
M&M Lien Eagleclaw Federal Well #2H, Lea
County, NM
Is the creditor an insider or related party?
Bo
Creditor's email address, if known _ iat | Yes
Is anyone else liable on this claim?
Date debt was incurred HI No
C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Mi No O Contingent
OO Yes. Specify each creditor, C1) unliquidated
including this creditor and its relative I pisputed
priority.
2.5 | Jim D. Elzner Describe debtor's property that is subject to a lien $1,712,562.04 $0.00
Creditor's Name All present and future assets of Debtor. : :
Pursuant to Promissory Note and related loan
docs and UCC-1UCC Filing No.
895 Rosastone Trl 17-0036275516
Houston, TX 77024
Creditors mailing address Describe the lien
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 7
Best Case Bankruptcy
Debtor

Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 17 of 52

Von Directional Services, LLC

Case number (if know)

 

Name

 

Creditor's email address, if known

Date debt was incurred

2/23/2017

Last 4 digits of account number

 

Do multiple creditors have an
interest in the same property?

Mino

C1 Yes. Specify each creditor,
including this creditor and its relative
priority.

 

UCC Lien - Line of Credit

Is the creditor an insider or related party?

C1 No

x Yes

Is anyone else liable on this claim?

Mino

C] Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check ail that apply

CZ contingent
CJ unliquidated
OD Disputed

18-33794-H2-11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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2.6 |LSQ Funding Group LC Describe debtor's property that is subject to a lien $1,961,639.65 $3,929,421.66
Creditor’s Namie 90 days or less: Accounts Receivable , ,
Attn William Samuelson FN1: The A/R total includes receivables
2600 Lucien Way, Suite 100 factored with LSQ.

Maitland, FL 32751
Creditor's mailing address Describe the lien
ls the creditor an insider or related party?
Mino
Creditors email address, if known Cj Yes
Is anyone else liable on this claim?
Date debt was incurred no
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Eno C1 Contingent
["] Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative Oo Disputed
priority.

2.7 | Renegade Oil Tools, LLC Describe debtor's property that is subject to a lien $71,027.14 $0.00
Creditors Name Lien is filed against the well owner/operator
P O Box 900
Youngsville, LA 70592
Creditor’s mailing address Describe the lien

M&M Lien
Is the creditor an insider or related party?
Mino
Creditor's email address, if known Cl ves
Is anyone else liable on this claim?
Date debt was incurred ME No
Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply :
Mino C1 contingent
CO Yes. Specify each creditor, C] Uniiquidated
including this creditor and its relative O1 pisputed
priority.
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 7

Best Case Bankruptcy
Debtor

Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 18 of 52

Name

Von Directional Services, LLC

Case number (if know)

18-33794-H2-11

 

 

 

 

Schlumberger Technology

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

28 Corporation Describe debtor's property that is subject to a lien $657,968.44 $0.00
Creditor’s Name Lien is filed against the well owner/operator
im i 150.
P O Box 732149 Estimated unsecured amount is $97,150.45
Dallas, TX 75373-2149
Creditor's mailing address Describe the lien
M&M Lien University Founders A25 #1 Well,
Hudspeth County, TX
Is the creditor an insider or related party?
no
Creditor's email address, if known C] Yes
Is anyone else liable on this claim?
Date debt was incurred MENo
O Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do muitiple creditors have an -As of the petition filing date, the claim is:
interest in the same property? Check all that apply
MI Nno C1 contingent
01 Yes. Specify each creditor, UO unliquidated
including this creditor and its relative 1 disputed
priority.

2.9 | Stag Consulting Describe debtor's property that is subject to a lien $245,023.19 $0.00
Creditors Name Lien is filed against the well owner/operator
4490 Castlegate Dr
College Station, TX 77845
Creditor's mailing address Describe the lien

M&M Lien
Is the creditor an insider or related party?
Bino
Creditor's email address, if known DO yes
Is anyone else liable on this claim?
Date debt was incurred HE no
6/18/2018 CO Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Hino C1 Contingent
(C1 Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative Oo Disputed
priority.

2.1 | Upstream Directional

0 Consultants Describe debtor's property that is subject to a tien $132,000.27 $0.00
Creditors Name Lien is filed against the well owner/operator
Upstream International LLC Total amount of M&M liens is unknown
15140 Southwest Freeway,

Suite C
Sugar Land, TX 77478
Creditor's mailing address Describe the lien
, M&M LIEN
is the creditor an insider or related party?
Wino
Creditor's email address, if known oO Yes
Is anyone else liable on this claim?
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 7
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Debtor

Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 19 of 52

Name

Date debt was incurred

Last 4 digits of account number

Von Directional Services, LLC

 

Do multiple creditors have an
interest in the same property?

Hino
O Yes. Specify each creditor,

including this creditor and its relative
priority.

 

Case number (if know)

18-33794-H2-11

 

Mi No
C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

a Contingent
0 unliquidated
oO Disputed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4 | Well Drill Downhole LLC Describe debtor's property that is subject to a lien $142,263.00 $0.00
Creditors Name Lien is filed against the well owner/operator
4490 Castlegate Dr
College Station, TX 77845
Creditor's mailing address : Describe the lien

M&M liens multiple wells
Is the creditor an insider or related party?
no
Creditor's email address, if known O yes
is anyone else liable on this claim?
Date debt was incurred Bi No
O yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Bi No D1 Contingent
Cl Yes. Specify each creditor, O unliquidated
including this creditor and its relative O pisputed
priority.

2.1 | Wells Fargo Dealer

2 Services Describe debtor's property that is subject to a lien $42,159.84 $47,946.04
Creditor's Name 2017 Chevy
P O Box 25341
Santa Ana, CA 92799-5341
Creditor's mailing address Describe the lien

Is the creditor an insider or related party?
Mi No
Creditors email address, if known O Yes
Is anyone else liable on this claim?
Date debt was incurred Hino
EA Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Mi no 3 Contingent
Cl ves. Specify each creditor, C1 Uniiquidated
including this creditor and its relative CZ) Disputed
priority. : :
2.1 | Wells Fargo Dealer
3 Services Describe debtor's property that is subject to a lien $57,798.29 $59,637.36
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 5 of 7

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 20 of 52

 

 

 

Debtor Von Directional Services, LLC Case number (if know) 18-33794-H2-11
Name
Creditors Name 2018 Chevy

P O Box 25341
Santa Ana, CA 92799-5341

Creditor’s mailing address Describe the lien

 

 

 

is the creditor an insider or related party?
BH no

Creditor’s email address, if known Ol yes
Is anyone else liable on this claim?

 

Date debt was incurred a No

D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number

 

Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply

Hino 1 Contingent

C1 Yes. Specify each creditor, C1 Uniiquidated

including this creditor and its relative (J Disputed

priority.

 

 

 

$5,694,715.3
7

 

 

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.

 

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity

 

Caza Operating LLC
200 North Loraine Street Line _ 2.1
Midland, TX 79701

 

Caza Operating LLC
200 North Loraine Street Line 2.4
Midland, TX 79701

 

Caza Operating LLC
200 North Loraine Street Line _2.11
Midland, TX 79701

 

Caza Petroleum LLC
200 North Loraine Street Line 2.1
Midland, TX 79701

 

Caza Petroleum LLC
200 North Loraine Street Line_ 2.4
Midland, TX 79701

 

Dore Law Group PC

Attn Lisa Aquino

17171 Park Row, Suite 160
Houston, TX 77084

Line 2.1

 

Dore Law Group PC

Attn Lisa Aquino

17171 Park Row, Suite 160
Houston, TX 77084

Line 2.4

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 6 of 7

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Case 18-33794 Document 97

Debtor Von Directional Services, LLC
Name

Founders Oil & Gas LLC

Attn David V Auld CEO & President
1341 Horton Circle

Arlington, TX 76011

Filed in TXSB on 08/22/18 Page 21 of 52

Case number (if know) 18-33794-H2-11

 

Line_2.8

 

Founders Oil] & Gas Operating LLC
Attn David V Auld CEO & President
1341 Horton Circle
Arlington, TX 76011

Line_ 2.8 _

 

Hudspeth Oil Corporation

Attn John Brda CEO & Director
5700 West Plano Pkwy Suite 3600
Plano, TX 75093

Lillard Wise Szygenda PLLC
Attn Andrew J Szygenda
13760 Noel Road, Suite 1150
Dallas, TX 75240

Line_ 2.8

Line_2.14_

 

Pandora Energy LP

Attn R Kenneth Dulin Registered Agent
8449 Greenwood Drive

Longmont, CO 80503

Line_ 2.8 _

 

Renegade Tools LLC

clo Sanders Law Firm

2 Greenway Plaza Suite 225
Houston, TX 77046

Stag Consulting LLC

c/o Lillard Wise Szygenda PLLC
Attn Andrew J Syzgenda

13760 Noel Rd., Suite 1150
Dallas, TX 75240

Upstream

c/o Clark Hill

901 Main Street Suite 6000
Dallas, TX 75202

Line_ 2.7

Line 2.9 _

Line _2.10_

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 7 of 7

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 22 of 52

Fill in this information to identify the case:

Debtor name

Von Directional Services, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number (ifknown) 18-33794-H2-11

 

(CQ Check if this is an
amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1215

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 4 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 

GENRE List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

C1 No. Go to Part 2.

Wl Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: Unknown Unknown
Bryson Varner Check all that apply.
3200 SW 3rd St C1 Contingent
Blanchard, OK 73010 O unliquidated
a Disputed
Date or dates debt was incurred Basis for the claim:
Unpaid commission, unpaid PTO
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY Hino
unsecured claim: 11 U.S.C. § 507(a) (4)
D Yes
Priority creditor's name and mailing address As of the petition filing date, the claim is: $4,687.38 $0.00
Johnson County Tax Assessor Check ail that apply.
Collector OD Contingent
2 North Mill Street CO unliquidated
Cleburne, TX 76033 CO Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY Mi No
unsecured claim: 11 U.S.C. § 507(a) (8)
O yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 22
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 23 of 52

Debtor Von Directional Services, LLC

Case number (if known)

 

Name

Priority creditor's name and mailing address

Kyle Anderson
1625 Main St, #1014
Houston, TX 77002

 

Date or dates debt was incurred

As of the petition filing date, the claim is:
Check all that apply.

oO Contingent

D0 unliquidated

a Disputed

Basis for the claim:
Unpaid commission, unpaid PTO

18-33794-H2-11

 

Unknown Unknown

 

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (4)

Is the claim subject to offset?

Bno
0 yes

 

Priority creditor's name and mailing address

Marcus Howell
5618 Summerfield Lane
Spring, TX 77379

 

Date or dates debt was incurred

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (4)

As of the petition filing date, the claim is:
Check ail that apply.

Oo Contingent

C1 unliquidated

a Disputed
Basis for the claim:
Unpaid commission, unpaid PTO

Is the claim subject to offset?

a No
Cl Yes

Unknown Unknown

 

 

Priority creditor's name and mailing address

New Mexico Taxation & Revenue
P O Box 2308
Santa Fe, NM 87504-2308

 

Date or dates debt was incurred

As of the petition filing date, the claim is:
Check aif that apply.

C Contingent

(J unliquidated

CI Disputed

Basis for the claim:

$149,276.38 $0.00

 

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?

a No
0 Yes

 

Priority creditor's name and mailing address

New Mexico Taxation & Revenue
Revenue Processing Division
1200 South St. Francis Drive
Santa Fe, NM 87502

 

Date or dates debt was incurred

As of the petition filing date, the claim is:
Check ail that apply.

Oo Contingent

U1 unliquidated

O pisputed

Basis for the claim:

$366,345.85 $0.00

 

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?

Mi No
0 ves

 

Page 2 of 22
Best Case Bankruptcy

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 24 of 52

 

 

 

 

 

 

 

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11
Name
Priority creditor's name and mailing address As of the petition filing date, the claim is: Unknown Unknown
Thomas Ganem Check all that apply.
6615 103rd St U1 Contingent
Tulsa, OK 74133 0 unliquidated
@ bisputed
Date or dates debt was incurred Basis for the claim:
Unpaid commission, unpaid PTO
Last 4 digits of account number Is the claim subject to offset?
Specify Code subsection of PRIORITY HE no
unsecured claim: 11 U.S.C. § 507(a) (4)
0 Yes
Priority creditor's name and mailing address As of the petition filing date, the claim is: $18,749.50 $0.00

Wyoming Department of Revenue
122 West 25th Street 2nd Floor
West .

Cheyenne, WY 82002-0110

 

Date or dates debt was incurred

Check aif that apply.
DO Contingent

C1 unliquidated

DO Disputed

Basis for the claim:

 

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
Mi no
Cl Yes

 

List All Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $497,190.00
Accutest ; U1 Contingent
he ve EM aoa LLC D1 untiquidated
DZ Disputed
Conroe, TX 77301 .
; Basis for the claim: Affiliate
Date(s) debt was incurred __ —
Last 4 digits of account number Is the claim subject to offset? CINo lll yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,594.16
Acme Truck Line, Inc. CO Contingent
MSC-410683 D unliquidated
P.O. Box 415000 DO Disputed
Nashville, TN 37241-5000
Basis for the claim:
Date(s) debt was incurred __ ‘ 7
Last 4 digits of account number Is the claim subject to offset? Hno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $675.00

Adam Alexander
7 East Diamond St.
Layton, UT 84041

Date(s) debt was incurred __

Last 4 digits of account number __

Oo Contingent

DO unliquidated

CO pDisputed

Basis for the clam: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

Is the claim subject to offset? a No Dyes:

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 3 of 22

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 25 of 52

Debtor Von Directional Services, LLC
Name

Nonpriority creditor's name and mailing address

Air Drilling Solutions Tool Ltd.
1517 E County Rd 120
Midland, TX 79706

Date(s) debt was incurred _

Last 4 digits of account number __

Case number (if known) 18-33794-H2-11

 

As of the petition filing date, the claim is: Check ail that apply. $1,200.94

D1 contingent
C1 unliquidated
0 Disputed

Basis for the claim: __

Is the claim subject to offset? a No Dyes

 

Nonpriority creditor's name and mailing address
Akin Doherty Klein & Geuge PC
8610 North New Braunfels Suite 101
San Antonio, TX 78217
Date(s) debt was incurred __

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $10,050.00

O contingent
C Unliquidated
O Disputed

Basis for the claim: _

Is the claim subject to offset? Mino Cres

 

Nonpriority creditor's name and mailing address
All Star! & E, Inc
523 E Oak Hill Drive
Spring, TX 77386

Date(s) debt was incurred _

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $3,760.61

oO Contingent
0 unliquidated
O Disputed

Basis forthe claim: __

Is the claim subject to offset? Hno Oves

 

Nonpriority creditor's name and mailing address

Amega West Services, LLC
7454 Solution Center
Chicago, IL 60677-7004

Date(s) debt was incurred _

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $86,084.06

O Contingent
[1 unliquidated
Oo Disputed

Basis forthe claim: _

\s the claim subject to offset? Mno Oves

 

Nonpriority creditor's name and mailing address

Antonio Lombardo
P O Box 2480
San Juan, TX 78589

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check ai that apply. $240.00

Ol Contingent
DO unliquidated
01 disputed

Basis forthe claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address
AT&T
PO Box 5019
Carol Stream, IL 60197-5019

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aff that apply. $386.58

D Contingent
1 untiquidated
OD Disputed

Basis for the claim: __

Is the claim subject to offset? Mino [ClyYes

 

3.10 | Nonpriority creditor's name and mailing address

Austin Faulkner
2504 Bennett Ave
Sherman, TX 75090

Date(s) debt was incurred __

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $270.00
O Contingent ,

C1 unliquidated

CD Disputed

Basis for the claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

Is the claim subject to offset? a No [] Yes

 

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Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 22

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 26 of 52

 

 

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $600.00
Aventine Hill CFOs, Inc. CQ) contingent
12500 San Pedro Ave, Suite 670 CZ unliquidated
San Antonio, TX 78216 [ Disputed

Date(s) debt was incurred _ Basis for the claim:

Last 4 digits of account number __
Is the claim subject to offset? MM No O Yes

 

3.12 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $443,814.90
B & A Rentals & Supply, Inc. C1 contingent
P O Box 526 D unliquidated
Broussard, LA 70518 C1 Disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number __
Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $9,190.43
_B&T Rentals, inc . : C1 contingent
PO Box 80962 CT unliquidated
Lafayette, LA 70598 C1 disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number __
Is the claim subject to offset? Mino Cves

 

3.14 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $22,777.44
Baker Hughes Oilfield Operations, Inc. C1 Contingent
PO Box 301057 0 unliquidated
Dallas, TX 75303-1057 C1 pisputed

Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number __ ; ;
Is the claim subject to offset? a No (Yes

 

3.15 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $753,663.74
BICO Drilling Tools, Inc Ci Contingent
1604 Greens Road C1 unliquidated
Houston, TX 77032 C1 Disputed

Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number _ . ,
ts the claim subject to offset? Mino Oves

 

3.16 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $2,183.00
Big H Logistics LLC C1 contingent
51 Magnolia Rd C] unliquidated
Cleveland, TX 77328 C1 Disputed
Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number _ , , =
Is the claim subject to offset? No O yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $72,652.33
Big H Transport, LLC C1 contingent
51 Magnolia Rd (J unliquidated
Cleveland, TX 77328 Cl Disputed
Date(s) debt was incurred _ Basis for the claim:

Last 4 digits of account number _ ; ; a
Is the claim subject to offset? No DO Yes

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 22

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 27 of 52

Debtor Von Directional Services, LLC
Name

Nonpriority creditor's name and mailing address
Blackgold Service Co., LLC
P O Box 499
Lindsay, OK 73052

Date(s) debt was incurred __

Last 4 digits of account number _

Case number (if known) 18-33794-H2-11

 

As of the petition filing date, the claim is: Check all that apply. $4,565.00

Oo Contingent
[) Unliquidated
D Disputed

Basis for the claim: __

Is the claim subject to offset? Hino Cres

 

Nonpriority creditor's name and mailing address
Bourland, Wall & Wenzel PC
301 Commerce Street
Suite 1500
Ft Worth, TX 76102

Date(s) debt was incurred __

Last 4 digits of account number _

3.20 Nonpriority creditor's name and mailing address

Bullero. Trucking LLC
P O Box 60593
Midiand, TX 79711

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $415.00

Oo Contingent
D0 untiquidated
Oo Disputed

Basis for the claim: _

Is the claim subject to offset? Mno Oves

As of the petition filing date, the claim is: Check ail that apply. $26,004.00

Oo Contingent
Ci unliquidated
Oo Disputed

Basis for the claim: _

Is the claim subject to offset? a No [J Yes

 

3.21 Nonpriority creditor's name and mailing address

Campbell & Riggs, P.C.
1980 Post Oak Boulevard
24th Fioor

Houston, TX 77056

Date(s) debt was incurred __

Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Centerline Trucking
11390 FM 830
Willis, TX 77318

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $30,724.87

O Contingent
0 unliquidated
C1 pisputed

Basis for the claim: _

Is the claim subject to offset? Mino Oves

As of the petition filing date, the claim is: Check ail that apply. $69,275.00

Cl Contingent
[ unliquidated
oO Disputed

Basis for the claim: __

Is the claim subject to offset? Mino Clyes

 

Nonpriority creditor's name and mailing address

Chris Faulkner
2517 Nantucket Drive
Sherman, TX 75092

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $960.00
Oo Contingent

0 unliquidated

Oo Disputed

Basis forthe claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

 

Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address
Cigna
900 Cottage Grove Road
Bloomfield, CT 06002

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $24,145.28

Oo Contingent

OD unliquidated

O Disputed

Basis for the claim: Cigna was paid pursuant to Wage Order. Debtor's
portion of Von Energy Services LLC A/P

Is the claim subject to offset? Mino Oves

 

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Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 22

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 28 of 52

Debtor Von Directional Services, LLC
Name

Case number (if known) 18-33794-H2-11

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $9,100.00
Cinco-A Hauling, LLC CJ Contingent
P O Box 800 1 unliquidated
Cotulla, TX 78014 CQ Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino ClyYes
3.26 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $1,200.00
Conroe Transport [7] Contingent
2257 N Loop 336 W #140-105 C unliquidated
Conroe, TX 77304 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $569.48
Consolidated Communications | 2 Contingent
PO Box 66523 CJ Unliquidated
Saint Louis, MO 63166-6523 C1 disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mno Oves
3.28 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $6,000.00
Continental Safety Compliance, LLC O contingent
3915 W Davis C1 untiquidated
Suite 130-152 C1 pisputed
Conroe, TX 77304
Basis for the claim:
Date(s) debt was incurred __ asis forthe claim: _
Last 4 digits of account number Is the claim subject to offset? a No (Yes
3.29 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $33,784.00
Crady, Jewett & McCulley, LLP C1) contingent
2727 Allen Parkway Oo Unliquidated
Suite 1700 01 Disputed
Houston, TX 77019-2125
. Basis for the claim:
Date(s) debt was incurred __ _
Last 4 digits of account number Is the claim subject to offset? Mino Oves
3.30 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $840.00

Craig Collins
2718 York Court
Southlake, TX 76092

Date(s) debt was incurred __

Last 4 digits of account number _

CI Contingent
C Untiquidated
Oo Disputed

Basis for the clam: Performance Bonus - 1099 contractors with Industry

Resource Management LLC

Is the claim subject to offset? a No [Yes

 

 

3.31 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $0.00
Crescent Directional Drilling LP O Contingent
c/o Littler Mendelson PC 0 untiquidated
1301 McKinney Street Suite 1900 C1 pisputed
Houston, TX 77010 oo.
| Basis for the claim: Litigation
Date(s) debt was incurred __ :
Last 4 digits of account number Is the claim subject to offset? Mino Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 29 of 52

Debtor Von Directional Services, LLC
Name

Case number (if known) 18-33794-H2-11

 

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,307.69
D & D MACHINE [J] Contingent
P O Box 60541 C0 unliquidated
Midland, TX 79711-0541 CI Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Hno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alf that apply. $287,884.19
DD Innovation LLC CJ contingent
2418 N Frazier St. Suite 102 C1 unliquidated
Conroe, TX 77303 CO Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $850.54
De Lage Landen Financial Services, inc. O Contingent
P O Box 41602 C] untiquidated
Philadelphia, PA 19101-1602 1 Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Cyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $39,295.25
Diablo Mud Motors, LLC CJ contingent
252 24th StE CO unliquidated
Dickinson, ND 58601 CJ Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $126,291.72
Digital Drilling Data Systems, LLC Oi contingent
14612 Medical Complex Dr D1 untiquidated
Tomball, TX 77377 O disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Ml No 0 ves
3.37 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $250.00
DISA Global Solutions, Inc. C1 Contingent
Dept. 890314 C1 untiquidated
PO Box 120314 [ Disputed
Dallas, TX 75312-0314
. Basis for the claim:
Date(s) debt was incurred _ ~
Last 4 digits of account number __ Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $431,874.53
Discovery Downhole Services, Inc CZ Contingent
P O Box 4568 C1 Unliquidated
Casper, WY 82604 O pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ;
. Is the claim subject to offset? a No QO Yes
Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 30 of 52

Debtor Von Directional Services, LLC
Name

3.39 Nonpriority creditor's name and mailing address

Drakewell, LLC
3324 NW 135th St
Oklahoma City, OK 73120

Date(s) debt was incurred __

Last 4 digits of account number _

Case number (if known) 18-33794-H2-11

As of the petition filing date, the claim is: Check aif that apply.
a Contingent

MF Unliquidated

a Disputed

$40,225.00

Basis forthe claim: Billed in name of Von Energy Services LLC

Is the claim subject to offset? Mino Clyes

 

 

 

 

 

 

 

3.40 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $338,950.96
3
Drilling Tools International, Inc C1 Contingent
PO Box 677901 CO unliquidated
Dallas, TX 75267-7901 CO pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check-all that apply. $25,842.07
* DrilTech, LLC C1 Contingent ,
PO Box 842063 C1 untiquidated
Boston, MA 02284-2063 CO pisputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? a No O Yes
[3.42] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $50,830.52
Dyna-Drill Technologies, inc [1 Contingent
23400 Colonial Parkway CZ unliquidated
Katy, TX 77493-3598 CO pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
ls the claim subject to offset? Hino Oves
3.43 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $4,900.00
Dynamic Oilfield Services, INC C1 Contingent
PO Box 9339 C1 unliquidated
Corpus Christi, TX 78469-9339 O pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $18,976.96
Dynomax C1 contingent
2830 Farrell Rd. (J unliquidated
Houston, TX 77073 CJ Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ .
Is the claim subject to offset? Hino Clyes
[3.45 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $3,700.00
E & A Transportation DZ contingent
6314 Tamar Dr (J untiquidated
Pasadena, TX 77503 C Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ ;
: : Is:the claim subject to offset? Mino Oves
Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 31 of 52

 

 

Debtor Von Directional Services, LLC Case number (ifknown) 18-33794-H2-11
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. $259.83
Entergy C1 Contingent
PO Box 8104 C1] untiquidated
Baton Rouge, LA 70891-8104 C1 Disputed

Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number __ .
. Is the claim subject to offset? Myo Cres

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $17,877.50
eSomina Well Design CO Contingent
5019 Willow Way Cl uniiquidated
Richmond, TX 77406 C] Disputed

Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number _ . a
Is the claim subject to offset? No D1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. «$70,600.65
ESPCT, LLC . CI contingent
PNC Bank C3 unliquidated
PO Box 679369 oO Disputed

Dallas, TX 75267-9369

. Basis for the claim:
Date(s) debt was incurred __ -

Last 4 digits of account number Is the claim subject to offset? Mino Cyes

 

3.49 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $1,750.00
Expedited Logistics and Freight Services O Contingent
P O Box 62127 [J unliquidated
Houston, TX 77205 I Disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number __ ; . a
Is the claim subject to offset? No Llyes

 

[3.60] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. «$60,853.63
Extreme Engineering Cl Contingent
Schlumberger CO unliquidated
P O Box 732149 C1 disputed

Dallas, TX 75373-2149

: Basis for the claim:
Date(s) debt was incurred __ -

Last 4 digits of account number Is the claim subject to offset? Myo Oves

3.51 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,463.46
Fatboy Transportation & Hot Shot Service C1 Contingent
P O Box 60593 C1 untiquidated
Midland, TX 79714 C1 pisputed

Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number __ . , nm
Is the claim subject to offset? No OyYes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $563.05
FedEx Bankruptcy Department Ci Contingent
3965 Airways Blvd D unliquidated
Module G 3rd Floor C1 Disputed

Memphis, TN 38116-5017

. Basis for the claim:
Date(s) debt was incurred _ ~~

Last 4 digits of account number Is the claim subject to offset? Ml No O ves:

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 10 of 22
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 32 of 52

Debtor Von Directional Services, LLC

Case number (if known) 18-33794-H2-11

 

 

 

 

 

 

Name
3.53 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $600.00
Flatland Trucking Inc C1 Contingent
PO Box 13783 C1 unliquidated
Odessa, TX 79768 O disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $464,368.70
Gordon Technologies, LLC U1 Contingent
206 Harold Gauthe Rd 0 untiquidatea
Scott, LA 70583 C1 Disputed
Date(s) debt was incurred __ Basis forthe claim: _
Last 4 digits of account number _
Is the claim subject to offset? a No O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $6,871.50
Grey Wolf Oilfield Transport, LLC CJ contingent
P O Box 7658 DC unliquidated
Houston, TX 77270 CO disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Myo Oves
3.56 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,144.93
Gulf States Trucking C] contingent
ve fidelity St DO unliquidated
9 O bis
puted
Houston, TX 77029
Basis for the claim:
Date(s) debt was incurred __ asis for the claim: _
Last 4 digits of account number Is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $210.00

Gustavo Beas
710 Ponselle Dr
Arlington, TX 76001

Date(s) debt was incurred __

Last 4 digits of account number __

Cl Contingent
OO untiquidated
OO pisputed

Basis for the claim: Performance Bonus - 1099 contractors with Industry

Resource Management LLC

Is the claim subject to offset? Mino Elyes

 

 

3.58 _ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $900.00
Hayco Transport Inc C1 Contingent
10260 Hwy 71 CO unliquidated
Elm Grove, LA 71051 C1 Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
3.59 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $528,393.02

Hill Country Staffing Co., LLC
501 S Austin Ave, Ste 1310
Georgetown, TX 78626

Date(s) debt was incurred __

Last 4 digits of account number __

O Contingent
Oo Unliquidated
OD disputed

Basis for the claim: __

Is the claim subject to offset? Mino Oves

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 11 of 22
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 33 of 52

 

 

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11
Name
3.60 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $21,560.00
Hughes Oilfield Transportation, INC. CJ contingent
2513 N Mercury Ave O unliquidated
Odessa, TX 79763 1 Disputed

Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number __
Is the claim subject to offset? a No Dyes

 

3.61 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $500,261.24
Hunting Energy Services (Drilling Tools) (1 contingent
PO Box 206429 CO unliquidated
Dallas, TX 75320-6429 CO Disputed

Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number __
Is the claim subject to offset? Mino Cyes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $31,536.27
Hunting Specialty Supply Inc OContingent
PO Box 206429 [J] unliquidated
Dallas, TX 75320 CI Disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number __
Is the claim subject to offset? a No D1 Yes

 

3.63 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. __ $1,103,946.68_
Industry Resource Management O Contingent
11111 Katy Freeway , 0 unliquidated
Suite 910 oO Disputed

Houston, TX 77079

. Basis for the claim: Affiliate
Date(s) debt was incurred __ ———

Last 4 digits of account number Is the claim subject to offset? Mino Oves

 

3.64 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $22,552.10
Integrity Directional O Contingent
9620 Pole Rd 0 unliquidated
Oklahoma City, OK 73160-9027 O pisputea
Date(s) debt was incurred __ Basis for the claim: _

Last 4 digits of account number __ ; ; Pt
Is the claim subject to offset? No [Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $1,503.06
ISN Software Corporation O Contingent
PO Box 841808 C] unliquidated
Dallas, TX 75284-1808 C1 disputed
Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number _ ; a
Is the claim subject to offset? No (1) Yes

 

3.66 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $905,738.00
Jim D. Elzner C1 contingent -
895 Rosastone Trl C] untiquidated
Houston, TX 77024 | Disputed
Date(s) debt was incurred 2/23/2017. Basis for the claim: UCC Lien filed; however Debtor no longer owns the

 

Last 4 digits of account number _ Mud Motors - 29 motors were transferred to Dynomax Downhole
: : Drilling, and 1 motor was lost in a downhole.

Is the claim subject to offset? Mino Oves

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 22

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 34 of 52

Debtor Von Directional Services, LLC
Name

Nonpriority creditor's name and mailing address

Jim D. Elzner
895 Rosastone Trl
Houston, TX 77024

Date(s) debt was incurred 7/31/2017

Last 4 digits of account number _

Case number (if known) 18-33794-H2-11

 

As of the petition filing date, the claim is: Check aff that apply. $671,068.00
oO Contingent

oO Unliquidated

O Disputed

Basis for the clam: UCC Lien filed; however Debtor no longer owns the
(8) Extreme Engineering HDS1 MWD Tools

Is the claim subject to offset? Mino Oves

 

3.68 Nonpriority creditor's name and mailing address

Jim Elzner
895 Rosastone Trail
Houston, TX 77024

Date(s) debt was incurred __

Last 4 digits of account number __

As of the petition filing date, the claim is: Check aif that apply. $14,075.85

O Contingent
DD unliquidated
0 Disputed

Basis for the claim: __

ls the claim subject to offset? a No Dyes

 

3.69 Nonpriority creditor's name and mailing address

John C. Allen, P.C.
909 Fannin, Suite 1600
Houston, TX 77010

Date(s) debt was incurred _

Last 4 digits of account number __

As of the petition filing date, the claim is: Check all that apply. $89,106.33

U1 Contingent
0 unliquidated
DO Disputed

Basis for the claim: __

Is the claim subject to offset? Mino Clyes

 

3.70 | Nonpriority creditor's name and mailing address

Jon W. Suttee
P O Box 185
Encampment, WY 82325

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $675.00
oO Contingent

C1 unliquidated

oO Disputed

Basis for the claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

 

Is the claim subject to offset? a No DYes

 

3.71 Nonpriority creditor's name and mailing address

JRJ Transportation
904 W 69th St
Odessa, TX 79764

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $18,344.00

C1 Contingent
1 uniiquidated
ia Disputed

Basis forthe claim: _

is the claim subject to offset? Ml No O Yes

 

3.72 Nonpriority creditor's name and mailing address

Knights Inspection
213 Prairie Street
Montgomery, TX 77356

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $1,500.00

O Contingent
0 untiquidated
CQ Disputed

Basis forthe claim: _

Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address
Landmark Graphics Corp
3000 North Sam Houston Pkway E
Plaza 25110D
Houston, TX 77032

Date(s) debt was incurred _

Last 4 digits of account number __

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As of the petition filing date, the claim is: Check alf that apply. $7,144.56
Oo Contingent

| Unliquidated
1 pisputed

: Basis forthe claim: __

Is the claim subject to offset? Mino Clyes

Schedule E/F: Creditors Who Have Unsecured Claims Page 13 of 22

Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 35 of 52
Case number (if known) 18-33794-H2-11

Debtor Von Directional Services, LLC

 

 

 

 

 

 

 

 

 

Name
3.74 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $54,615.20
Lead Development oO Contingent
a Woodlands Parkway O unliquidated
uite 230 #478 C1 pisputea
The Woodlands, TX 77382
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset? Bno Oves
3.75 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $36,597.39
Light Tower Rentals CZ Contingent
2330 East I-20 South Service Road O unliquidated
Odessa, TX 79766 0 Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
3.76 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $7,683.00
Lightning Oilfield Services, INC. £1 Contingent
PO Box 41047 0 unliquidated
Baton Rouge, LA 70835 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Myo Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $300.00
Mac NDT Services, LLC Oi contingent
11400 Dans Place D0 untiquidated
Montgomery, TX 77316 O Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,000.00
Magnetic Variation Services I contingent
8700 Turnpike Dr Suite 200 C1 unliquidated
Westminster, CO 80031 C pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
ls the claim subject to offset? Mno Oves
3.79 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,122.46
Marquette Financial O Contingent
1600 W 82nd Street #250 0 unliquidated
Minneapolis, MN 55431 Ml Disputed
Date(s) debt was incurred __ . ses
a Basis for the claim: _Due Diligence Expenses
Last 4 digits of account number _ UCC lien was released post filing 7/11/2018
Is the claim subject to offset? Mino Clyes
3.80 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $407.39
McMaster-Carr C1] Contingent
P O Box 7690 C] unliquidated
Chicago, IL 60680-7690 O pisputea
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __ : :
Is the claim subject to offset? By O Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 36 of 52

 

 

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $3,166.32
Merge Solutions, LP O Contingent
504 Spring Hill Drive CO unliquidated
Suite 400 CI pisputea
Spring, TX 77386 sews

Basis for the claim:
Date(s) debt was incurred __ _

Last 4 digits of account number Is the claim subject to offset? Ml No 1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,100.00
Monster Energy Services, LLC OO Contingent
P O Box 1594 CO unliquidated
Elk City, OK 73648 CO Disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number __ ; ;
Is the claim subject to offset? a No [] Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $8,509.50
Morales Machine Shop & Transportation LL C1 contingent
P O Box 2762 0 unliquidated
Laredo, TX 78044-2762 CD pisputed

Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number _ .
Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $18,642.63
Mpact Downhole Motors C1 contingent
dba MPACT Downhole Motors 0 unliquidated
P O Box 201567 C1 Disputed

Dallas, TX 75320-1567

Basis for the claim:
Date(s) debt was incurred __ _

Last 4 digits of account number is the claim subject to offset? Mi No D1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $272,449.65
MWD Supply, LP C1 contingent
1521 East Richey Rd C] Untiquidated
Houston, TX 77073 O Disputed

Date(s) debt was incurred _ Basis for the claim:

Last 4 digits of account number __ ;
Is the claim subject to offset? Mino Clyes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $211,331.68
National Oilwell Varco O Contingent
P O Box 201224 OD unliquidated
Dallas, TX 75320-1224 O Disputed

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number _ , . a
Is the claim subject to offset? No (1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $0.00
Nelson Products, Inc. O Contingent
13551 W 43rd Dr Unit G D1 untiquidated
Golden, CO 80403 C1 Disputed
Date(s) debt was incurred __ Basis for the claim:

Last 4 digits of account number . .
: ~~ Is the claim subject to offset? Mino Clhyves

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 15 of 22
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 37 of 52

Debtor Von Directional Services, LLC

Case number (it known) 18-33794-H2-11

 

 

 

 

 

 

 

 

Name
3.88 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $775.00
Newbold Chapman & Geyer PC CD Contingent
150 East Ninth Street, Suite 400 CI unliquidated
Durango, CO 81301 C1 Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Bno Dyes
3.89 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. $2,644,428.72
NexGen Rentals, LLC Oo Contingent
11111 Katy Freeway D unliquidated
Suite 910 D pisputed
Houston, TX 77079 ASfili
Basis f im:
Date(s) debt was incurred _ asis for the claim iliate
Last 4 digits of account number ts the claim subject to offset? Mino Cyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,871.26
OGI Partners, LLC CJ.contingent
3880 Counts Road C1 unliquidated
Pointblank, TX 77364 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $49,743.14
Oil Patch Group, Inc. C] contingent
S bape Freeway D1 unliquidated
uite CO pi
Disputed
Houston, TX 77079 ‘
is for th im:
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number Is the claim subject to offset? Mino [ves
3.92 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $6,110.00
On Point Logistics, LLC [1 Contingent
27708 Tomball Pkwy # 1015 [I unliquidated
Tomball, TX 77375 Oo Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino O ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $7,716.40
PAJUAL Enterprise, LLC O Contingent
P O Box 1764 O unliquidated
Midland, TX 79702 O bDisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mno Oyes
As of the petition filing date, the claim is: Check aif that apply. $246,833.65

Nonpriority creditor's name and mailing address
Panther Drilling Systems, LLC
10600 W Reno
Yukon, OK 73099

Date(s) debt was incurred __

Last 4 digits of account number __

Oi contingent
0 unliquidated
oO Disputed

Basis for the claim: __

Is the claim subject to offset? Mino Oves

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 16 of 22
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 38 of 52

Debtor Von Directional Services, LLC
Name

Case number (if known) 18-33794-H2-11

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $13,058.62
Paradigm Downhole Tools CI Contingent
P ° Box 10743 DC unliquidated
Midland, TX 79702 [1 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mino Oves
3.96 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $162,874.30
Park City Drilling Technologies, LLC CJ contingent
Dept 814 C unliquidated
P O Box 4346 [7 disputed
Houston, TX 77210-4346
Basi faim:
Date(s) debt was incurred __ asis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Ml No O yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,600.00
. Patriot Downhole Tools, LLC OD contingent
8820 NW Loop 338 CJ unliquidated
Odessa, TX 79764 [I Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Mino Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $200,000.00
Performance Drilling Technology Inc @ Contingent
12202 Advance Dr CO untiqui
Unliquidated
Houston, TX 77065 CO pisputed
Date(s) debt was incurred __ sg: .
Basis for the claim: Litigation
Last 4 digits of account number __
Is the claim subject to offset? a No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $1,150.00
PGC LOGISTICS, LLC C] contingent
PO Box 60351 [1] untiquidated
Houston, TX 77205 O disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mino Clyes
3.100 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $43,480.82
Pinch Flatbed, Inc. D1 contingent
P O Box 60473 CJ unliquidated
Houston, TX 77205 C1 pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Mino Dyes
As of the petition filing date, the claim is: Check ai that apply. $148,091.60

3.101 | Nonpriority creditor's name and mailing address

Polaris Guidance Systems, LLC
21617 Rhodes Road
Spring, TX 77388

Date(s) debt was incurred _

Last 4 digits of account number __

oO Contingent
| Unliquidated
O Disputed

Basis for the claim: Lease arrears

As the claim subject to offset? a ‘No Cl Yes

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 17 of 22
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 39 of 52

Debtor Von Directional Services, LLC
Name

Case number (if known)

18-33794-H2-11

 

 

 

3.102 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,040.00
Pradon Construction & Trucking CJ contingent
P O Box 14969 OD unliquidated
Odessa, TX 79768 [ Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Hino Oves
3.103 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $20,696.12
Ramrod Trucking, Inc. CJ contingent
3009 Hohl St C1 unliquidated
Houston, TX 77093 CO Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Cres
3.104 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $95,711.69

Reed Smith LLP
811 Main Street Suite 1700
Houston, TX 77002-6110

Date(s) debt was incurred __

Last 4 digits of account number __

O Contingent
[1 unliquidated
a Disputed

Basis for the claim: May have been in the name of Von Energy Services, |

LLC

Is the claim subject to offset? Mino Clyes

 

 

 

 

3.105 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $3,134.48
Rig Runner CJ Contingent
519 N Sam Houston Pkwy E 1 unliquidated
Suite 600 CO Disputed
Houston, TX 77060
Basis for the claim:
Date(s) debt was incurred __ asis Tor tne claim: —
Last 4 digits of account number _ Is the claim subject to offset? Mino Oves
3.106 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $9,036.60
Ronal O1 Contingent
385 Columbia Memorial Parkway [3 Unliquidated
Kemah, TX 77565 ( Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mino Oves
3.107 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $19,370.00
Sals Reliable Transpt Serv, Inc. dba. SR C) contingent
P O Box 53232 D unliquidated
Midland, TX 79701 (1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mino Cres
As of the petition filing date, the claim is: Check aif that apply. $48,920.00

Nonpriority creditor's name and mailing address
SanJan, LLC
PO Box 94208
Lubbock, TX 79493-6565

Date(s) debt was incurred _

Last 4 digits of account number _

oO Contingent
O Unliquidated
C] Disputed

Basis forthe claim: __

Is the claim subject to offset? Mino Clyes

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 18 of 22
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 40 of 52

Debtor Von Directional Services, LLC
Name

Case number (if known) 18-33794-H2-11

 

 

 

3.109 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $3,500.00
Scientific Drilling International, Inc CJ contingent
P O Box 301036 D0 unliquidated
Dallas, TX 75303-1036 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: Litigation
Last 4 digits of account number _
Is the claim subject to offset? a No [J Yes
3.110 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,775.00
SMS Precision Tech, LLC C] Contingent
22955 State Hwy 249, Ste 37 01 untiquidated
Tomball, TX 77375 C1 Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Hno Oves
3.111 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $249,757.82

Smyser Kaplan & Veselka, LLP
700 Louisiana Suite 2300
Houston, TX 77002

Date(s) debt was incurred __

Last 4 digits of account number __

C1 Contingent
C1 unliquidated
ul Disputed

Basis for the clam: Representation of Debtor, Von Energy Services, LLC,
NextGen Rentals, LLC, and Industry Resource Management, LLC

Is the claim subject to offset? m No () yes

 

 

 

 

3.112 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $369.62
Southwest Specialty, Inc C1 Contingent
P O Box 14194 D0 unliquidated
Odessa, TX 79768 C1 pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ ;
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $270,750.60
Stabil Drill Oi contingent
Dept. 2162 C1 unliquidated
PO Box 122162 C1 pisputed
Dallas, TX 75312
‘ Basis for the claim:
Date(s) debt was incurred _ -
Last 4 digits of account number Is the claim subject to offset? a No (1 yes
3.114 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,750.18
Standard Safety & Supply O1 Contingent
P O Box 14987 CI unliquidated
Odessa, TX 79768 O pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Myo Clyes
3.115 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $21,500.00

Surcon Ltd.

600. 17th Street
Suite 2800 South
Denver, CO 80202

Date(s) debt was incurred __

Last 4 digits of account number _

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| Contingent
C] unliquidated
C Disputed

Basis for the claim: _

Is the claim subject to offset? Mino Oves

Schedule E/F: Creditors Who Have Unsecured Claims

Page 19 of 22
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 41 of 52

Debtor Von Directional Services, LLC

Case number (if known) 18-33794-H2-11

 

 

Name

 

 

 

 

 

 

 

 

3.116 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $14,200.71
Tejas Hot Shot Service & Transportation C1 contingent
2396 E Pearl St C1 unliquidated
Odessa, TX 79761 (J Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
3.117 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $669,579.20
Tercel Oilfield Products USA C1 Contingent
7330 N. Sam Houston Pkwy., #10 CD unliquidated
Houston, TX 77060 CO Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
is the claim subject to offset? Mino Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $3,540.00
_ Terra Pilot MWD Tools, LLC O Contingent
5 N Cooley Drive C1 unliquidated
Oklahoma City, OK 73127 C Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Mno Oves
3.119 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $19,014.55
Texas Mutual Insurance Company C] contingent
P O Box 841843 0 unliquidated
Dallas, TX 75284 oO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Myo Cres
3.120 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $165,216.00
Texas Mutual Insurance Company i Contingent
6210 E Highway 290 WH Uniiquidated
Austin, TX 78723-1098 = mauicare
Date(s) debt was incurred _6/16/2017-6/16/2018 Disputed
Last 4 digits of account number_9320 Basis for the clam: Workers Comp Audit
Is the claim subject to offset? Mino Oves
3.121 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $3,186.51
Traco Machine Inc. C1 contingent
3705 A SCR 1210 DO unliquidated
Midland, TX 79706 (I Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? Hino Oves
3.122 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $5,124.00
Trans-Tex Dyno Services, LLC © contingent
5019 Basin Street C1 unliquidated
Midland, TX 79703 O Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ;
: 3 Is the claim subject to offset? Myo Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 20 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 42 of 52

Debtor Von Directional Services, LLC
Name
Nonpriority creditor's name and mailing address
TRS Services, Inc.
Riviera Finance of Texas
P.O. Box 202485
Dallas, TX 75320

Date(s) debt was incurred __

Last 4 digits of account number __

Case number (if known) 18-33794-H2-11

 

As of the petition filing date, the claim is: Check alf that apply. ~ $3,200.00

DO Contingent
OD unliquidated
Cj Disputed

Basis forthe claim: __

Is the claim subject to offset? Mno Oves

 

Nonpriority creditor's name and mailing address
True North Technologies, LLC
504 Spring Hill Drive
Suite 420
Spring, TX 77386

Date(s) debt was incurred _

Last 4 digits of account number __

Nonpriority creditor's name and mailing address
* Ude Okechukwu
21606 Sierra Long Drive
Richmond, TX 77407

Date(s) debt was incurred __

Last 4 digits of account number __

As of the petition filing date, the claim is: Check all that apply. $9,808.63

O Contingent
C1 unliquidated
O Disputed

Basis for the claim: __

Is the claim subject to offset? Mino Oves

As of the petition filing date, the claim is: Check aif that apply. $1,350.00
CJ Contingent ,

Ci unliquidated

O Disputed

Basis forthe claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

Is the claim subject to offset? Ryo Oves

 

Nonpriority creditor's name and mailing address
Vertex Downhole Inc
20221 Carriage Point Drive
Houston, TX 77073

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aiff that apply.
O Contingent

0 unliquidated

OO disputed

$1,114,199.84

Basis for the claim: Litigation

Is the claim subject to offset? Mino Oves

 

Nonpriority creditor's name and mailing address
Victor [konne
5555 Long Prairie Trace #1226
Richmond, TX 77407

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $180.00

Cl Contingent
D1 unliquidated
Ci Disputed

Basis for the claim: Performance Bonus - 1099 contractors with Industry
Resource Management LLC

Is the claim subject to offset? Myo Cres

 

 

 

 

3.128 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $288,187.97
Von Energy Services LLC C1 Contingent
12074 FM 3083 Rd CZ unliquidated
Conroe, TX 77301 D disputed
Date(s) debt was incurred _ Basis for the claim: Affiliate
Last 4 digits of account number __
Is the claim subject to offset? Mino Clyes
3.129 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali that apply. $3,640.79
Wells Fargo Dealer Services CZ Contingent
P O Box 25341 CD unliquidated
Santa Ana, CA 92799 CO pisputed
Date(s) debt was incurred __ : " Basis for the claim: _
Last 4 digits of account number __ .
Is the claim subject to offset? Bno Oves
List Others to Be Notified About Unsecured Claims
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 21 of 22

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 43 of 52

Debtor Von Directional Services, LLC Case number (if known) 18-33794-H2-11

Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

 

 

 

 

 

 

 

 

 

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
44 Bico Drilling Tools Inc
Monshaugen & Van Huff PC Line 3.15. _
Attn Stephanie B. Donaho / ;
1225 North Loop West, Suite 640 C1 Not listed. Explain__
Houston, TX 77008
42 Frost Insurance Agency Inc.
P O Box 2625 Line 3.120 _
Victoria, TX 77902-2625
C1 Notlisted. Explain
4.3 Scientific Drilling International, Inc.
cloEversheds Sutherland (US) LLP . Line 3.109 _
1001 Fannin, Suite 3700
Houston, TX 77002 (1 Notlisted. Explain
44 Tammy Jayk Dunn
Osha Liang, LLP Line _3.98 _
909 Fannin St., Suite 3500
Houston, TX 77010 : O Notlisted. Explain
45 Vertex Downhole Inc
clo Woodall Batchelor PLLC Line 3.126 _
26865 1-45 South Suite 201
Spring, TX 77380 [1 Notlisted. Explain
4.6 Vertex Downhole Inc
clo Cain & Daniels Inc. Line _3.126 _
Attn Ann Walker
C] Notlisted. Explain

4902 Eisenhower Blvd
Tampa, FL 33634

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
‘Total of claim amounts...

 

 

 

 

 

5a. Total claims from Part 4 Sa. $ 539,059.11
5b. Total claims from Part 2 5b. + $ 15,249,361 .65
Sc. Total of Parts 1 and 2
Lines 5a + 5b = 5c. 5c. $ 15,788,420.76
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 22 of 22

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 44 of 52

Fill in this information to identify the case:

Debtorname Von Directional Services, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number (ifknown) 18-33794-H2-11

 

OO Check if this is an
amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

(1) No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

Mi Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases . State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Verbal contract

lease is for and the nature of
the debtor's interest

State the term remaining Accutest ;
fka Von Dynamics, LLC
List the contract number of any 12074 FM 3083
government contract Conroe, TX 77301

 

 

2.2. State what the contract or Master Service/Sales
lease is for and the nature of | Agreement dated May
the debtor's interest 18, 2018

State the term remaining ATXE Part LLe
nergy Partners,

6504 Bridgepoint Parkway, Suite 500

List the contract number of any Austin, TX 78730
ustin,

government contract

 

 

2.3. State what the contract or Master Service
lease is for and the nature of | Agreement
the debtor's interest

State the term remaining Cc O ting LLC
aza Operating

200 N Loraine, Suite 1550

List the contract number of any Midland, TX 79704
idiand,

government contract

 

 

2.4. State what the contract or Upon information and
lease is for and the nature of — believe, a Master
the debtor's interest Service Agreement was

signed. Cannot locate
signed copy of

 

 

: Agreement. _
State the term remaining COG Operating LLC
One Concho Center
List the contract number of any 600 W Illinois Avenue
government contract Midland, TX 79701
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 7

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 45 of 52

Debtor 1 Von Directional Services, LLC

First Name Middle Name

Case number (ifknown) 18-33794-H2-11

Last Name

a Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

lease
2.5. State what the contract or HDS1 Service
lease is for and the nature of Agreement dated
the debtor's interest 41/21/2016 in name of
Von Directional, LLC
State the term remaining
DD Innovation LLC
List the contract number of any 2418 N Frazier St. Suite 102
government contract Conroe, TX 77303
2.6. State what the contract or EVO One Service
’ lease is for and the nature of | Agreement dated
the debtor's interest 11/30/2017
State the term remaining ;
DD Innovation LLC
List the contract number of any 2418 N Frazier St. Suite 102
government contract Conroe, TX 77303
2.7. State what the contract or
lease is for and the nature of
the debtor's interest
State the term remaining . ; .
De Lage Landen Financial Services, Inc.
List the contract number of any P O Box 41602
government contract Philadelphia, PA 191 01 ~1 602
2.8. State what the contract or Upon information and
lease is for and the nature of believe, a Master
the debtor's interest Service Agreement was
signed. Cannot locate
signed copy of
Agreement.
State the term remaining .
Diamondback Energy
List the contract number of any 9400 N Broadway Suite 700
government contract Oklahoma City, OK 73114
2.9. State what the contract or Pricing Agreement -

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any
government contract

Contract shows in
name of Von Energy
Services. Von
Directional made all
payments to Drakewell.

Drakewell, LLC
3324 NW 135th St
Oklahoma City, OK 73120

 

Official Form 206G

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Schedule G: Executory Contracts and Unexpired Leases

Page 2 of 7
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 46 of 52
Debtor 1 Von Directional Services, LLC Case number (irknown) 18-33794-H2-11

First Name Middle Name Last Name

pe Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.10. | State what the contract or Master Services

lease is for and the nature of Agreement dated

the debtor's interest October 12, 2017 in
name of Von Energy
Services LLC

Elk River Resources LLC

clo Rio Oil & Gas (CoOp) LLC

3 Waterwater Square Place, Suite 500
The Woodlands, TX 77380

State the term remaining

List the contract number of any
government contract

 

2.11. State what the contract or Master Services
lease is for and the nature of | Agreement dated
the debtor's interest August 4, 2017

State the term remainin
9 Endeavor Energy Resources LLC

110 North Marienfeld, Suite 200

List the contract number of any Midland, TX 79764
idland,

government contract

 

2.12. State what the contract or Master Services
lease is for and the nature of | Agreement dated
the debtor's interest January 11, 2017 with
Von Energy Services,
LLC

State the term remaining EOGR I
esources, Inc.

P O Box 4362

List the contract number of any Houston. TX 77210-4362
ouston,

government contract

 

2.13. State what the contract or Master Services
lease is for and the nature of | Agreement dated June
the debtor's interest 5, 2017 with Von

Energy Services LLC

State the term remaining EP Energy E&P Services LP

1001 Louisiana

List the contract number of any Houston, TX 77002
ouston,

government contract

 

2.14. State what the contract or Master Service &
lease is for and the nature of Supply Agreement
the debtor's interest dated November 18
2015

State the term remainin
$ Escondido Resources Operating Company LL

1600 Smith Street, Suite 4250

List the contract number of any H ton, TX 77002
ouston,

government contract

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 3 of 7
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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 47 of 52
Debtor1 Von Directional Services, LLC Case number (ifknown) 18-33794-H2-11

First Name Middle Name Last Name

 

P| Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.15. | State what the contract or Upon information and

lease is for and the nature of — believe, a Master
the debtor's interest Service Agreement was

signed. Cannot locate
signed copy of

 

 

 

 

Agreement.
State the term remaining .
Fourpoint Energy
List the contract number of any 100 St. Paul Street #400
government contract Denver, CO 80206
2.16. | State what the contract or Master Service
lease is for and the nature of | Agreement dated
the debtor's interest September 15, 2017
with Von Energy
Services LLC
State the term remaining . .
Gaedeke Oil & Gas Operating LLC
List the contract number of any 3710 Rawlins St., Suite 1100
government contract Dallas, TX 75219
2.17. | State what the contract or Master Service
lease is for and the nature of | Agreement dated May
the debtor's interest 9, 2017 with Von

Energy Services LLC.
May 2018 Bid was by ~

 

 

 

 

 

 

- Debtor.
State the term remaining ;
Grenadier Energy Partners II LLC
List the contract number of any 24 Waterway Ave, Suite 875
government contract The Woodlands, TX 77380
2.18. | State what the contract or Master Service
lease is for and the nature of | Agreement dated
the debtor's interest January 25, 2018
State the term remaining oe
Grit Oil & Gas LLC
List the contract number of any 6002 Rogerdale Road, Suite 650
government contract Houston, TX 77072
2.19. | State what the contract or Client Service
lease is for and the nature of | Agreement dated
the debtor's interest 4/15/17
State the term remaining Industry Resource Management
, 11111 Katy Freeway
List the contract number of any Suite 910
government contract Houston, TX 77079
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 4 of 7

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 48 of 52

Debtor1 Von Directional Services, LLC

First Name Middle Name

Last Name

Case number (ifknown) 18-33794-H2-11

po Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

lease
2.20. State what the contract or Industrial Lease for
lease is for and the nature of | leased premises
the debtor's interest located at 2407 E.
Murphy Street, Odessa,
Ector County, TX 79761
dated 1/1/2017 fora
term of 5 years. Rent at
$6,000 per month.
State the term remaining ;
J. D. Elzner Holdings, LLC
List the contract number of any 895 Rosastone Trail
government contract Houston, TX 77024
2.21. | State what the contract or Master Service
lease is for and the nature of | Agreement dated
the debtor's interest 11/7/2017 with Von
Energy Services LLC
State the term remaining . oo
Kaiser Francis Oil Company LLC
List the contract number of any P O Box 21468
government contract Tulsa, OK 74121-2146
2.22. State what the contract or Upon information and
lease is for and the nature of believe, a Master
the debtor's interest Service Agreement was
signed. Cannot locate
signed copy of
Agreement.
State the term remaining
Kinder Morgan CO2 Company LP
List the contract number of any 1001 Louisiana Suite 1000
government contract Houston, TX 77002
2.23. State what the contract or invoice Purchase
lease is for and the nature of | Agreement
the debtor's interest
State the term remaining LSQ Funding Group LC
Attn William Samuelson
List the contract number of any 2600 Lucien Way, Suite 100
government contract Maitland, FL 32751
2.24. State what the contract or Equipment Rental

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any
government contract

Agreement dated April
1, 2018, 90 day auto
renewal

NexGen Rentals LLC
11111 Katy Freeway, Suite 910
Houston, TX 77079

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

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Page 5 of 7
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 49 of 52
Debtor1 Von Directional Services, LLC Case number (ifknown) 18-33794-H2-11

First Name Middie Name Last Name

po Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for ail other parties with
whom the debtor has an executory contract or unexpired
lease

2.25. State what the contract or Master Service

lease is for and the nature of Agreement
the debtor's interest

Olifant Energy LLC

Attn: Bill Martin, President and COO
15 W. 6th St., Suite 2200

Tulsa, OK 74119

State the term remaining

List the contract number of any
government contract

 

2.26. State what the contract or Master Service
' lease is for and the nature of Agreement with Von
the debtor's interest Energy Services LLC
State the term remaining
Oxy USA Inc.
P O Box 2289

List the contract number of any

government contract Houston, TX 77252

 

2.27. State what the contract or Nonresidential lease for
lease is for and the nature of = premises located at
the debtor's interest 12074 FM 3083, Conroe,

TX 77301. Lease was
in error in the name of
Von Directional Drilling,
LLC. The actual
company name is Von
Directional Services,
LLC.

Rent is charged 1/3rd
pro rata to Debtor and

2/3rd pro rata portion to ;
P&S Properties, LLC

 

 

AccuTest.
State the term remaining clo Coats Rose PC

Attn Nancy Hamren

List the contract number of any Nine Greenway Plaza, Suite 1000
government contract Houston, TX 77046
2.28. State what the contract or Upon information and

lease is for and the nature of believe, a Master
the debtor's interest Service Agreement was

signed. Cannot locate
signed copy of

 

 

Agreement.
State the term remaining _
Panther Drilling Systems
List the contract number of any 10600 W Reno Ave
government contract Yukon, OK 73099
2.29. State what the contract or Lease Agreement

lease is for and the nature of

the debtor's interest Polaris Guidance Systems, LLC

21617 Rhodes Road
State the term remaining Spring, TX 77388
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 6 of 7

Best Case Bankruptcy

 

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Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 50 of 52

Debtor 1 Von Directional Services, LLC

First Name Middle Name

Last Name

Case number (ifknown) 18-33794-H2-11

a Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

List the contract number of any
government contract

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired
lease

 

 

 

 

 

 

 

2.30. | State what the contract or Upon information and
lease is for and the nature of believe, a Master
the debtor's interest Service Agreement was
signed. Cannot locate
signed copy of
Agreement.
State the term remaining , :
S&M Energy Permian
List the contract number of any P O Box 46518
government contract Denver, CO 80201-6518
2.31. | State what the contract or Upon information and
lease is for and the nature of believe, a Master
the debtor's interest Service Agreement was
signed. Cannot locate
signed copy of
Agreement.
State the term remaining
Solaris Water Midstream LLC
List the contract number of any 9811 Katy Freeway Suite 300
government contract Houston, TX 77024
2.32. State what the contract or Upon information and
lease is for and the nature of — believe, a Master
the debtor's interest Service Agreement was
signed. Cannot locate
signed copy of
Agreement.
State the term remaining
Strata Technologies LLC
List the contract number of any 3112 Windsor Road
government contract Austin, TX 78703
2.33. State what the contract or Master Service

lease is for and the nature of
the debtor's interest
State the term remaining

List the contract number of any
government contract

Agreement dated
November 18, 2016
with Von Energy
Services, LLC

Upstream Directional Consultants
Upstream International LLC

15140 Southwest Freeway, Suite C
Sugar Land, TX 77478

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

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Page 7 of 7
Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 51 of 52

Fill in this information to identify the case:

Debtorname Von Directional Services, LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 

Case number (ifknown) 18-33794-H2-11

 

(1 Check if this is an
amended filing

 

 

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

[1 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Ml Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

 

 

 

 

Name Mailing Address Name Check all schedules
that apply:
2.1. Industry 11111 Katy Freeway Performance Drilling Cp
Resource Suite 910 Technology Inc MEF 3.98
Management Houston, TX 77079 oe ne
2.2 NexGen Rentals 11111 Katy Fwy, Ste 910 Performance Drilling Mp
LLC Houston, TX 77079 Technology Inc HEF 3.98
OG
2.3. Von Energy 12074 FM 3083 Rd Performance Drilling Ob
Services LLC Conroe, TX 77301 Technology Inc HEF 3.98
OG
2.4 Accutest fka Von Dynamics, LLC P&S Properties, LLC OD
12074 FM 3083 C E/F
Conroe, TX 77301 BG 227
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Best Case Bankruptcy
Case 18-33794 Document 97 Filed in TXSB on 08/22/18 Page 52 of 52

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Debtorname Von Directional Services, LLC

 

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF TEXAS

Case number {ifknown) 18-33794-H2-11
[-] Check if this is an
amended filing

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ia

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and Habllities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9071.

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

P| Declaration and signature

jam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

[have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property (Official Form 206A/8)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
Amended Schedule :
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
Other document that requires a declaration

 

 

COO

| declare under penalty of perjury that the foregoing is true and correct.

   
 
 

 

 

Executedon August 22, 2018 x
Signature Af individual signing’on behalf of debtor
Jim Elzner
Printed name

Manager Von Energy Services, LLC, Manager of Von Directional Services,

LLC
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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